                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 HENRY SHEBITZ, Derivatively                    )
 on behalf of CBL & ASSOCIATES                  )
 PROPERTIES, INC.,                              )
                                                )
        Plaintiff,                              )
                                                )
 v.                                             )   No. 1:19–CV–213
                                                )
 STEPHEN D. LEBOVITZ, et al.,                   )
                                                )
        Defendants.                             )

                                            ORDER

        This matter is before the Court on the nominal Defendant’s Notice of Suggestion of

 Bankruptcy. [Doc. 27]. This case is hereby STAYED. 11 U.S.C. § 362. Plaintiffs may move to lift

 the stay at the proper time. Id

        So ordered.

        ENTER:


                                                    s/J. RONNIE GREER
                                               UNITED STATES DISTRICT JUDGE




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